                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )
       v.                                            )       Criminal Action No.
                                                     )       14-00027-04-CR-W-GAF
ALICIA PAIGE,
                                                     )
                              Defendant.             )


                            REPORT AND RECOMMENDATION

       On September 10, 2014, counsel for defendant Alicia Paige filed a motion pursuant to 18

U.S.C. ' 4241 for a determination of the mental competency of the defendant to stand trial.

That motion was granted and, prior to holding a hearing to determine the mental competency of

the defendant, the Court entered its Order pursuant to 18 U.S.C. ' 4241(b) directing that a

psychological or psychiatric examination of the defendant be conducted and that a psychological

or psychiatric report be filed with the Court pursuant to 18 U.S.C. '' 4247(b) and (c).

       The Court has received the psychological or psychiatric report of Dr. Tammy Sheehan

which concluded that the defendant is competent to understand the nature and consequence of

the proceedings against her and to assist properly in her defense.   This report has been provided

to and reviewed by counsel for the government and counsel for the defendant.      On March 9,

2015, a hearing was held pursuant to 18 U.S.C. ' 4247(d) for the purpose of determining the

mental competency of the defendant to stand trial.   At this hearing, counsel for the government

and counsel for the defendant stipulated that the Court could consider the psychological or




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psychiatric report of Dr. Sheehan as if Dr. Sheehan had appeared in person and testified under

oath.   No additional evidence was offered by the government or by the defendant.

        Based on the record before the Court and the findings of Dr. Sheehan , it is

        RECOMMENDED that the District Court, after conducting its own independent review

of the record, find that defendant Alicia Paige is competent to understand the nature and

consequence of the proceedings against her and to assist properly in her defense.

        Counsel are reminded that each has 14 days from the date of receipt of a copy of this

Report and Recommendation to file and serve specific objections to the same.     A failure to file

and serve timely objections shall bar attack on appeal of the factual findings in this Report which

are accepted or adopted by the District Judge except upon the ground of plain error or manifest

injustice.



                                              /s/ JOHN T. MAUGHMER
                                                     JOHN T. MAUGHMER
                                                     United States Magistrate Judge

Kansas City, Missouri




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